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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS



ENANTA PHARMACEUTICALS, INC.


V.                                                    CIVIL ACTION NO. 22-10967-DJC


PFIZER INC.




                                         Scheduling Order


Casper, J.

         This Scheduling Order is intended primarily to provide a reasonable timetable for discovery
and motion practice and to ensure the fair and just resolution of this matter, either by settlement or
trial, without undue delay or expense.

        Having conducted a Scheduling Conference between the parties pursuant to Local Rule
16.1(a), it is hereby ORDERED pursuant to Rule 16(b) of the Federal Rules of Civil Procedure and
Local Rule 16.1(f) that:

       1. Initial Disclosures. Completed.

       2. Fact Discovery.

               a.      Final Deadline. All discovery, other than expert discovery, must be completed
                       by September 21, 2023 .

       3. Status Conference. A status conference will be held on October 2, 2023 at 2:00PM in
Courtroom 11, 5th Floor by video conference.
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       4. Expert Discovery.

               a.      Initial trial experts by the party with the burden of proof must be designated
                       and the information required by Fed. R. Civ. P. 26(a)(2) must be disclosed by
                       November 2, 2023 .

               b.      Ttrial experts by the party that does not bear the burden of proof must be
                       designated and the information required by Fed. R. Civ. P. 26(a)(2) must be
                       disclosed by December 14, 2023 .

               c.      All trial experts must be deposed by January 25, 2024 .

       5. Summary Judgment Motions.

               a. Motions for summary judgment and Daubert motions must be filed by February
22, 2024 .

             b. Opposition to summary judgment motions and Daubert motions must be filed by
March 14, 2024.

               c. All summary judgment filings shall conform to the requirements of Local Rule 56.1.

                 d. The movant for summary judgment shall serve electronically a Word version of their
statement of undisputed facts on the non-movant when they file their motion for summary judgment
and all supporting materials. When filing its opposition to the motion for summary judgment, the non-
movant shall file a response to the movant's statement of undisputed facts that uses the Word
document and responses to each of the movant's undisputed facts, paragraph by paragraph, and, if
disputed, include page references to affidavits, depositions or other documents in the record. If the
movant contends that there are separate disputed material facts, it may identify them in a separate
section at the end of this document, paragraph by paragraph with page references to affidavits,
depositions and other documents in the record. The non-movant shall file this document on ECF and
shall serve it on the movant in an electronic Word document when the non-movant files its opposition.
The movant may then respond to any separately identified disputed facts, using this Word document
and responding to each of the movant's disputed facts, paragraph by paragraph with page references
to the affidavits, depositions or other documents in the record and file same when it files its reply
brief.




Date: September 14, 2022                             /s/ Denise J. Casper
                                                     U. S. District Judge
